Case 1:19-cv-10408-NMG Document 20 Filed 06/20/19 Page 1 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

KEITH HOBBS, individually and on behalf
of all others similarly situated,

Plaintiff,

Case No. 19-cv-10408-NMG

V.

COMMONWEALTH SERVICING
GROUP, LLC, a Massachusetts limited
liability company, and DMB FINANCIAL,
LLC, a Massachusetts limited liability
company,

 

Defendants.
_ J

Defendant, DMB Financial, LLC affirms, pursuant to Local Rule 16.1(D)(3), the
following:

That DMB Financial, LLC has conferred: (a) with a view to establishing a budget for the
costs of conducting the full course—and various alternative courses—of the litigation; and (b) to
consider the resolution of the litigation through the use of alternative dispute resolution programs

such as those outlined in Local Rule 16.4.

 
 

 

Representative of DMB Fina

Daniel Rapes for the Defendants

RESPECTFULLY SUBMITTED

  

By: /s/ Daniel G. Ruggiero
Daniel G. Ruggiero, Esq.
275 Grove Street

Suite 2-400

Newton, MA 02466
339-237-0343
druggieroesq@ gmail.com
Case 1:19-cv-10408-NMG Document 20 Filed 06/20/19 Page 2 of 4

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on E { lo L 4 ______, a true and correct copy of
the foregoing was served upon all counsel and parties of record listed below by e-mail and U.S.
first class mail.

/s/ Daniel G. Ruggiero

 

Daniel G. Ruggiero, Esq.

SERVICE LIST

J. Steven Foley

Law Office of J. Steven Foley
11 Pleasant St. #100
Worcester, MA 01609

Phone: (508)754-1041
jsteven@attomeyfoley.com

Steven L. Woodrow*

Woodrow & Peluso, LLC

3900 E. Mexico Avenue, Suite 300
Denver, CO 80210

Phone: (720) 213-0675

Email: swoodrow@woodrowpeluso.com
Case 1:19-cv-10408-NMG Document 20 Filed 06/20/19 Page 3 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

KEITH HOBBS, individually and on behalf
of all others similarly situated,

Case No. 19-cv-10408-NMG
Plaintiff,

¥v.

COMMONWEALTH SERVICING
GROUP, LLC, a Massachusetts limited
liability company, and DMB FINANCIAL,
LLC, a Massachusetts limited liability
company,

Defendants.

 

 

Defendant, Commonwealth Servicing Group, LLC affirms, pursuant to Local Rule
16.1(D)(3), the following:

That Commonwealth Servicing Group, LLC has conferred: (a) with a view to establishing
a budget for the costs of conducting the full course—and various alternative courses—of the
litigation; and (b) to consider the resolution of the litigation through the use of alternative dispute
resolution programs such as those outlined in Local Rule 16.4.

Qh A ew EO

Representative of Comm ealth Servicing Group, LLC

/

Daniel Ruggiere; counsel for the Defendants

RESPECTFULLY SUBMITTED

By: /s/ Daniel G. Ruggiero
Daniel G. Ruggiero, Esq.
275 Grove Street

Suite 2-400

Newton, MA 02466
339-237-0343
druggieroesq@gmail.com
 

Case 1:19-cv-10408-NMG Document 20 Filed 06/20/19 Page 4 of 4

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on b | 2 oC [¢ S , a true and correct copy of
the foregoing was served upon all counsel and parties of record listed below by e-mail and U.S.

first class mail.

/s/ Daniel G. Ruggiero

 

Daniel G. Ruggiero, Esq.

SERVICE LIST

J. Steven Foley

Law Office of J. Steven Foley
1] Pleasant St. #100
Worcester, MA 01609

Phone: (508)754-1041
jsteven@attorneyfoley.com

Steven L. Woodrow*

Woodrow & Peluso, LLC

3900 E. Mexico Avenue, Suite 300
Denver, CO 80210

Phone: (720) 213-0675

Email: swoodrow@woodrowpeluso.com
